
PER CURIAM.
We reverse that portion of the order on restitution awarding Marjorie Lois Geprich the sum of $15,000 to be paid by the appellant.
In the instant case, contrary to the requirements of section 39.11(l)(a)l, Florida Statute (1987), there was no determination by the court that the amount of restitution ordered by the court was an amount the child could reasonably be expected to pay. In effect, the trial court acknowledged several times at the restitution hearing that the $15,000 the court ordered as restitution would inevitably be uncollectible. Accordingly, we reverse that portion of the order on restitution awarding Marjorie Lois Gep-rich the sum of $15,000 to be paid by the appellant. In all other respects we affirm the order on restitution as it relates to appellant.
REVERSED AND REMANDED.
DELL, GUNTHER and GARRETT, JJ., concur.
